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UNITED STATES DISTRICT COURT
WESTERN DISTRICT OF NEW YORK
_________________________________________________

LIONELL NELSON,

                      Plaintiff,

            v.                                           Civil Index No. 14-cv-00870

LARRY GLEASON, CARLETON BRINK, AND
GARY BELZ,

                  Defendants.
_________________________________________________




PLAINTIFF'S REPLY MEMORANDUM OF LAW IN FURTHER SUPPORT OF HIS
                  MOTION TO REOPEN DISCOVERY




                                          Respectfully submitted,

                                          PHILLIPS LYTLE LLP
                                          Attorneys for Plaintiff
                                          Lionell Nelson
                                          One Canalside
                                          125 Main Street
                                          Buffalo, New York 14203-2887
                                          Telephone No. (716) 847-8400


Erin E. Connare
James E.B. Bobseine
David J. Rudroff
– Of Counsel –
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                               PRELIMINARY STATEMENT

               Plaintiff Lionell Nelson (“Plaintiff” or “Mr. Nelson”) respectfully submits this

reply memorandum of law in further support of his motion to reopen discovery (“Motion”).

For the reasons set forth in Mr. Nelson’s underlying motion papers and herein, Mr. Nelson

has demonstrated good cause to reopen discovery. The opposition of defendants Larry

Gleason, Carleton Brink, and Gary Belz (collectively, “Defendants”), on the other hand,

utterly fails to identify any factors that weigh against Mr. Nelson’s requested relief.

                                          ARGUMENT

  MR. NELSON HAS SHOWN GOOD CAUSE FOR WHY THIS COURT SHOULD
                      REOPEN DISCOVERY

               As set forth in Mr. Nelson’s underlying motion papers, the factors that this

Court will consider in reopening discovery clearly weigh in his favor. See Young v. Sw.

Airlines Co., 14-cv-1940 (LDH) (RLM), 2016 WL 3257008, at *2 (E.D.N.Y. May 4, 2016);

Williams v. Fischer, No. 13cv118, 2015 WL 3522431, at *3-4 (W.D.N.Y. June 4, 2015)

(Scott, Mag. J.); Tota v. Bentley, No. 06CV514S, 2008 WL 3540375, at *4-5 (W.D.N.Y.

Aug. 12, 2008) (Scott, Mag. J.). Specifically, Mr. Nelson has demonstrated: (1) trial is not

imminent, as it has neither been scheduled nor determined whether trial will proceed before

the Magistrate Judge; (2) Defendants will not be prejudiced, as Mr. Nelson seeks limited

discovery that will require minimal time, effort, and expense from Defendants; (3) that Mr.

Nelson diligently attempted to obtain discovery during the originally scheduled period, but,

as a pro se litigant, did not understand the mechanisms available to him in either obtaining

discovery or addressing deficiencies in Defendants’ responses; (4) Defendants would have

foreseen the need for the requested discovery, as it is rare that a plaintiff intentionally fails to

depose the named defendants or key witnesses or video of the incident allegedly underlying
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Defendants’ search (particularly in an action such as this where credibility assessments of

competing accounts will be essential); (5) the discovery sought will lead to highly relevant

and admissible evidence (particularly as to those credibility determinations), and; (6)

discovery was conducted while Mr. Nelson was proceeding pro se, while incarcerated, and

without the benefit of his recently-appointed counsel.

                 In their opposition brief (“Opposition”), Defendants argue that they will be

prejudiced “in that their day in Court would be delayed in a case that is already three and a

half years old, and the discovery sought is unlikely to lead to relevant evidence, as the

discovery to date ‘pretty well indicate[s] what the anticipated trial witnesses are going to

say.’” See Opposition p. 5. Notably, Defendants do not deny that: (1) trial is not scheduled

and the parties have not decided whether trial will proceed before the Magistrate Judge1; (2)

Mr. Nelson diligently attempted to pursue discovery during the period allotted by this

Court; (3) Mr. Nelson’s discovery request is tailored such that it will require Defendants’ to

expend minimal time and expense; (4) it was reasonably foreseeable to Defendants that this

discovery would be needed2; or (5) the discovery conducted in this case was done while Mr.

Nelson was proceeding pro se and incarcerated.

                 Instead, Defendants argue that because this case began three years ago, the

“delay” resulting from reopening discovery will cause them prejudice. See Opposition pp. 4-

5. This is disingenuous. In reality, Defendants have participated in this case for only about

1.5 years, and it is their conduct that has caused any unnecessary delay. Mr. Nelson began


1
  Defendants’ contradictory stance on the imminence of trial should be disregarded. As they concede, trial has
not been scheduled. See Opposition p. 5.
2
  Defendants argue Mr. Nelson “wrongfully attempts to turn this factor” against them, as it is “not their
burden” to establish good cause. This characterization of Mr. Nelson’s arguments wholly ignores the fact that
“the foreseeability of the need for additional discovery” is one of the factors expressly considered by district
courts in New York. See Williams, 2016 WL 3257008, at *2.


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this lawsuit on October 23, 2015, but was unable to effect service upon Defendants until

April 2016 due to the constraints of his incarceration.3 See Docket Nos. 1, 12. Defendants

did not file an answer until September 29, 2016 – nearly five months after answering papers

were due, and only after prompting by this Court. See Docket Nos. 13, 16-17.

                Mr. Nelson served written discovery upon Defendants on November 28, 2016

(following motion practice resulting from Defendants’ failure to timely answer), but

Defendants again failed to timely respond. See Docket No. 42. Ultimately, on April 21,

2017 (months after their responses were due), Defendants requested this Court grant them

an extension until May 5, 2017 to respond. See Docket Nos. 45, 48.

                Moreover, in May 2017, Defendants requested another extension from the

Court in order to conduct Mr. Nelson’s party deposition – rather similar relief to that which

Mr. Nelson is requesting, and which Defendants oppose. See Docket No. 60. Finally,

despite the Court’s July 13, 2017 Order requiring Defendants to produce to Mr. Nelson the

Inspector General’s report, IAD-11-15006, pursuant to DOCCS’ procedure, Defendants

failed to do so prior to the close of fact discovery, prompting Mr. Nelson to seek assistance

from the Court in September 2017. See Docket Nos. 66, 68, 71. Thus, Defendants’ claim of

prejudice is without merit.

                Finally, Defendants’ unsupported claim that the discovery sought will not

adduce relevant evidence is simply incorrect. The issues in this case are highly dependent

upon issues of credibility, as the assault was not seen by any person other than Mr. Nelson

and Defendants. Defendants have already deposed Mr. Nelson to explore his credibility,

presumably with the intention of having his deposition testimony available for use for any

3
 One of the “motions to compel” that Defendants claim demonstrates Mr. Nelson’s adeptness in discovery
was actually a motion to obtain Defendants’ addresses so that the U.S. Marshal could serve Defendants with
the summons and complaint. See Docket No. 8.


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alleged impeachment purposes at trial. Mr. Nelson, on the other hand, has not had the

chance to depose Defendants or key fact witnesses who, as Defendants acknowledge, are

“anticipated trial witnesses.”4 The existence of interrogatory responses and documents that

potentially indicate how the witnesses will testify does not make depositions unnecessary.

To the contrary, it provides greater reason for Mr. Nelson to depose the individuals to

discover issues of credibility and consistency. Likewise, Defendants’ claim that the video

surveillance of Mr. Nelson’s visit with Jessica Medina no longer exists (through no fault of

Mr. Nelson’s), if true, makes it even more important that Mr. Nelson be permitted to depose

these witnesses to explore the true motivations behind Defendants October 16, 2011 visit to

Mr. Nelson’s cell (and the ensuing search and assault).

                                             CONCLUSION

                 As the circumstances of this case weigh heavily in favor of reopening

discovery, Plaintiff Lionell Nelson respectfully requests that this Court grant his motion to

reopen discovery in its entirety.




4
  Defendants concede it would be difficult for Mr. Nelson to conduct depositions as a pro se inmate, but
propose that “written questions” may have been sufficient. See Opposition p. 4. This is not so, particularly in
light of the bare-bones nature of Defendants’ responses to Mr. Nelson’s interrogatories.


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Dated: Buffalo, New York                    PHILLIPS LYTLE LLP
       March 14, 2018

                                            By: /s/Erin E. Connare
                                                    Erin E. Connare
                                                    James E.B. Bobseine
                                                    David J. Rudroff
                                            Attorneys for Plaintiff
                                            Lionell Nelson
                                            One Canalside
                                            125 Main Street
                                            Buffalo, New York 14203-2887
                                            Telephone No. (716) 847-8400
                                            econnare@phillipslytle.com
                                            jbobseine@phillipslytle.com
                                            drudroff@phillipslytle.com



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